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IN THE UNITED sTATEs DISTRICT COURT D.C

FOR THE WESTERN DISTRICT OF TENNESS§§]:`HM l , PH
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EASTERN DIVISION
UNITED sTATEs OF AMERICA, i“}:§ea'£t? Dl range
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Plaimifr, U’“ W~JACKSON`

VS. No. 04-10099-T
GURD[EL S[NGH and ARUN KUMAR,

Defendants.

ORDER CQNTINU]NG TRIAL AND EXCLUDING DELAY

Upon joint motion of counsel for defendants Gurdiel Singh and Arun Kurnar and for
good cause shown, the trial date Which is currently scheduled for May 12, 2005, is hereby
continued Defendants contend that additional time is needed for preparation for the trial.

The court finds that the defendants’ need for a continuance for additional preparation
outweighs the best interests of the public and the defendants in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendants more time to

prepare for trial. Accordin 1 the trial is continued from Ma 12 2005 to Junel$ 2005 at9:30

 

A.M. The resulting period of delay, from May 12, 2005, to .lune 15, 2005, is excluded pursuant
to 18 U.S.C. § 3161(h)(8)(A).
IT IS SO ORDERED.

@.M

J D. TODD
D STATES DISTRICT JUDGE

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Thls document entered on the docket sheet ln compliance
with ama 55 and/or sz(h) Fnch on 05“16? ~ 05

 

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Honorable J ames Tcdd
US DISTRICT COURT

